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                      EXHIBIT 2
10/17/2019              Case 2:18-cr-00422-DJH Document Untitled
                                                        801-2Message
                                                                 Filed 11/11/19 Page 2 of 2

  Erin McCampbell Paris
  Sent:       Friday, October 11, 2019 9:42 AM
  To:         Kevin.Rapp@usdoj.com; Margaret.perlmeter@usdoj.gov; reginald.jones4@usdoj.gov; Peter.Kozinets@usdoj.gov;
              andrew.stone@usdoj.gov
  Cc:         Paul Cambria
  Attachments:9.5.18 FD 302 Form.pdf (180 KB)


  Hi Kevin,

  I have attached an FD 302 form dated September 5, 2018 that references (at Point 3) a search warrant for email that was
  sought in the District of Arizona in connection with this case. We do not have a copy of this search warrant or the search
  warrant application and neither does counsel for other defendants. Please send us a copy of the search warrant and
  warrant application, or, if we already have it, please give us the Bates Numbers associated with those documents so we
  can locate them within the discovery.

  Thank you.

  Best wishes,

  Erin




             Erin McCampbell Paris
             Attorney at Law

             42 Delaware Ave | Suite 120 | Buffalo, NY 14202
             TEL 716 849 1333 x323 | FAX 716 855 1580
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